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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


SERAPHIM BENJAMIN,


                                Plaintiff,           Civil Action No.:
vs.                                              I
                                                     JURY TRIAL
EQUIFAX INFORMATION
SERVICES, LLC,                                       DEMANDED


                             Defendant.



                                  COMPLAINT

      Seraphim Benjamin (“Plaintiff” or “Mr. Benjamin”), a living, breathing

consumer, brings this Complaint against Equifax Information Services, LLC

(“Equifax”), and states as follows:

                                INTRODUCTION

      1.     The computerization of our society has resulted in a revolutionary

increase in the accumulation and processing of data concerning individual American

consumers. Data technology, whether it is used by businesses, banks, the Internal

Revenue Service or other institutions, allows information concerning individual


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consumers to flow instantaneously to requesting parties. Such timely information is

intended to lead to faster and better decision-making by its recipients and, in theory,

all of society should ultimately benefit from the resulting convenience and

efficiency.

      2.      However, unfortunately this information has also become readily

available for, and subject to, mishandling and misuse. Individual consumers can and

do sustain substantial damage, both economically and emotionally, whenever

inaccurate or fraudulent information is disseminated and/or obtained about them. In

fact, Defendant acknowledges this potential for misuse and resulting damage every

time they sell their credit monitoring services to a consumer.

      3.      The ongoing technological advances in the area of data processing have

resulted in a boon for the companies that accumulate and sell data concerning

individuals’ credit histories and other personal information. Such companies are

commonly known as consumer reporting agencies (“CRAs”).

      4.      Defendant Equifax is a CRA as defined by the Fair Credit Reporting

Act, 15 U.S.C. § 1681a(f).

      5.      These CRAs sell information to readily paying subscribers (i.e.,

retailers, landlords, lenders, potential employers, and other similar interested




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parties), commonly called “consumer reports,” concerning individuals who may be

applying for retail credit, housing, employment, or a car or mortgage loan.

      6.    Since 1970, when Congress enacted the Fair Credit Reporting Act, 15

U.S.C. § 1681, et seq. (“FCRA”), federal law has required CRAs to implement and

utilize reasonable procedures “to assure maximum possible accuracy” of the

personal, private, and financial information that they compile and sell about

individual consumers.

      7.    One of the primary purposes in requiring CRAs to assure “maximum

possible accuracy” of consumer information is to ensure the stability of our banking

system:

      The banking system is dependent upon fair and accurate credit
      reporting. Inaccurate credit reports directly impair the efficiency of the
      banking system, and unfair credit reporting methods undermine the
      public confidence which is essential to the continued functioning of the
      banking system.

See 15 U.S.C. § 1681(a)(1).

      8.    The preservation of one’s good name and reputation is also at the heart

of the FCRA’s purposes:

      [W]ith the trend toward computerization of billings and the
      establishment of all sorts of computerized data banks, the individual is
      in great danger of having his life and character reduced to impersonal
      “blips” and key-punch holes in a stolid and unthinking machine which
      can literally ruin his reputation without cause, and make him
      unemployable or uninsurable, as well as deny him the opportunity to
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      obtain a mortgage or buy a home. We are not nearly as much concerned
      over the possible mistaken turn-down of a consumer for a luxury item
      as we are over the possible destruction of his good name without his
      knowledge and without reason. * * * [A]s Shakespeare said, the loss of
      one’s good name is beyond price and makes one poor indeed (emphasis
      added).

Bryant v. TRW, Inc., 689 F.2d 72, 79 (6th Cir. 1982) [quoting 116 Cong. Rec.

36570 (1970)].

      9.     The FCRA also requires CRAs to conduct a reasonable reinvestigation

to determine whether information disputed by consumers is inaccurate and record

the current status of the disputed information, or delete the disputed information,

before the end of the 30-day period beginning on the date on which the CRA receives

the notice of dispute from the consumer. This mandate exists to ensure that consumer

disputes are handled in a timely manner and that inaccurate information contained

within a consumer’s credit report is corrected and/or deleted so as to not prevent said

consumer from benefiting from his or her credit and obtaining new credit.

      10.    In light of these important findings and purposes, Congress specifically

noted “a need to insure that [CRAs] exercise their grave responsibilities with

fairness, impartiality, and respect for the consumer’s right to privacy.” See 15 U.S.C.

§ 1681(a)(4).

      11.    This action seeks actual, statutory, and punitive damages, costs and

attorneys’ fees for Plaintiff against Defendant for their willful and/or negligent
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violations of the Fair Credit Reporting Act, 15 U.S.C. §§ 1681, et seq., as described

herein.


                                  THE PARTIES

      12.    Plaintiff Seraphim Benjamin (“Plaintiff” or “Mr. Benjamin”), is a

natural person who resides in the State of South Carolina and is a “consumer” as that

term is defined in 15 U.S.C. § 1681a(c).

      13.    Defendant Equifax Information Services, LLC (“Equifax”) is a limited

liability company that resides in the State of Georgia and in the Northern District.

      14.    Equifax is a “consumer reporting agency” as defined in 15 U.S.C. §

1681a(f). Equifax is regularly engaged in the business of assembling, evaluating,

and disseminating information concerning consumers for the purpose of furnishing

consumer reports, as defined in 15 U.S.C. § 1681a(d) to third parties.


                         JURISDICTION AND VENUE

      15.    This Court has jurisdiction over Plaintiff’s claims pursuant to 28 U.S.C.

§ 1331 and 15 U.S.C. § 1681p, which allows claims under the FCRA to be brought

in any appropriate court of competent jurisdiction.




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      16.    Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2)

because a substantial part of the events or omissions giving rise to the claims

occurred in this District.

      17.    Plaintiff mailed multiple written disputes regarding inaccurate

information in his Equifax credit report to Equifax located in Fulton County; Atlanta,

Georgia.

      18.    Defendant Equifax received Plaintiff's multiple written disputes in

Fulton County; Atlanta, Georgia.

      19.    Upon receipt of Plaintiff's disputes, Defendant Equifax forwarded such

disputes to furnishers via Automated Consumer Dispute Verification electronic

forms. Upon completion of its investigations furnishers responded to Defendant

Equifax's electronic communications, which originated from Atlanta, Georgia, by

sending its results electronically to Defendant Equifax in Fulton County; Atlanta,

Georgia

      20.    Defendant Equifax then processed the dispute results from furnishers at

its National Consumer Assistance Center in Atlanta, Georgia, and mailed Plaintiff

its final dispute results from Atlanta, Georgia.




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                                       FACTS

   The Credit Bureau Defendant’s Practices Concerning the Sale of Credit
                       Reports on the “Deceased”

      21.    Defendant Equifax sells millions of consumer reports (often called

“credit reports” or “reports”) per day, and also sell credit scores.

      22.    Pursuant to 15 U.S.C. § 1681e(b), consumer reporting agencies, like

Defendant Equifax, are required “to follow reasonable procedures to assure

maximum possible accuracy of the information concerning the individual about

whom the report relates.”

      23.    Pursuant to 15 U.S.C. §§ 1681b and 1681e(a), consumer reporting

agencies, like Defendant, must maintain reasonable procedures to assure that reports

are sold only for legitimate “permissible purposes.”

      24.    Defendant Equifax routinely places a “deceased” notation or marking

on credit reports when they are advised by any of their many data furnishing sources

(such as banks and debt collectors) that a given consumer is deceased.

      25.    Defendant Equifax’s furnishing sources identify “deceased” consumers

by marking the “status” of such consumer’s responsibility for any subject account

with an “X” code in the “ECOA” field of an electronic data input format used in the

credit reporting industry, known as Metro or Metro 2.


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       26.    Defendant Equifax does not request or require a death certificate from

any of their data sources which advise that a consumer is “deceased” before placing

a “deceased” mark in that consumer’s credit file.

       27.    Defendant Equifax does not request or require any proof from any data

source which advises that a consumer is “deceased” showing that the consumer is,

in fact, deceased before placing a “deceased” mark on that consumer’s report.

       28.    Defendant Equifax does not independently verify with any source or

furnisher that a consumer is, in fact, deceased before placing a “deceased” mark on

that consumer’s report.

       29.    In some cases, in order to assure accuracy, Defendant Equifax may send

letters and/or other communications to consumers when certain information that may

be considered suspicious or unreliable is furnished about said consumers to be placed

in their credit files, such as in cases where consumers have a freeze or fraud alert on

their credit report, or in accordance with certain state laws, such as the consumer

laws of Colorado. Defendant Equifax does not have any procedure to notify

consumers (such as a next of kin or executor or administrator of the consumer’s

estate) when an “X” deceased code is furnished to it to be placed in said consumer’s

credit file or report.




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       30.    Defendant Equifax regularly receives the “Death Master File” from the

Social Security Administration, including weekly and/or monthly updates, listing by

social security number those consumers that the government believes to be deceased.

But Defendant Equifax does not cross-reference the “X” code received from data

furnishers with the Death Master File in order to determine whether any given

consumer reported as deceased via a furnishing source is also on the Death Master

File before selling a credit report about said consumer, or at any time.

       31.    Defendant Equifax will only use the Death Master File to sell additional

products for an additional fee, which are designed to show whether a given consumer

is truly deceased.

       32.    Defendant Equifax does not employ any procedures at all to assure that

a consumer with a “deceased” mark on their report is, in fact, actually deceased

before placing the “deceased” mark on that consumer’s report and selling that report

for profit.

       33.    Even in instances where other data on the face of the consumer’s report

indicates that he/she is not deceased, Defendant Equifax does not employ any

procedures to assure that a consumer with a “deceased” mark on their report is, in

fact, actually deceased before placing the “deceased” mark in that consumer’s file.




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      34.    Even in instances where the purportedly deceased consumer

communicates directly with Defendant Equifax, Defendant Equifax does not employ

any procedures to assure that a consumer with a “deceased” mark on their report is,

in fact, actually deceased before placing the “deceased” mark on that consumer’s

report.

      35.    Once a “deceased” mark is placed upon a consumer’s report, Defendant

Equifax will not calculate and will not provide a credit score for that consumer.

      36.    Upon Defendant Equifax’s reports with a “deceased” mark sold to third

parties, Defendant Equifax never calculates or provides a credit score for that

consumer and instead reports that consumer’s credit score as “N/A.”

      37.    Defendant Equifax knows that third party credit issuers require a credit

score in order to process a given credit application.

      38.    Defendant Equifax knows that consumers without credit scores are

unable to secure any credit from most credit issuers.

      39.    Defendant Equifax knows that living consumers are routinely turned

down for credit specifically because they are reporting them as “deceased” and

without a credit score.

      40.    Defendant Equifax has been put on notice for years through consumer

disputes and lawsuits that living, breathing consumers are turned down for credit

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specifically because they are reporting them as “deceased” and without a credit

score.

         41.   Defendant Equifax has received and documented many disputes from

consumers complaining that their credit reports had them erroneously marked as

“deceased.”

         42.   Defendant Equifax knows that thousands of consumers are erroneously

marked as “deceased” on their credit reports via an erroneous furnishing of the “X”

code, even when said consumers (and their dates of birth and social security

numbers) are not on the Death Master File and are, in fact, alive.

         43.   Nevertheless, Defendant Equifax does not employ any procedures to

assure that a consumer marked as “deceased” on their credit reports is, in fact,

deceased.

         44.   Even consumers who dispute the erroneous “deceased” status on their

Equifax credit report continue to be erroneously marked as deceased unless the

furnishing source which provided the erroneous “X” code in the first instance

decides to change the code.

         45.   Defendant Equifax does not have any independent procedure to change

an erroneous deceased status on their own and will merely parrot their furnishing




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source in the case of a reinvestigation into the accuracy of the deceased status upon

a consumer’s report, a reinvestigation which is triggered by a consumer dispute.

      46.    Nor does Equifax employ any procedures to limit or stop the furnishing

of reports to third parties for consumers that they have marked as “deceased” under

any circumstances.

      47.    For years after a consumer’s actual death, Defendant Equifax will

continue to sell credit reports about that consumer.

      48.    Defendant Equifax will only remove a deceased consumer’s file from

their respective credit reporting databases when it is no longer valuable to them—

meaning that no one is continuing to purchase reports about that consumer.

      49.    Defendant Equifax charges third parties a fee for reports with a mark

that a consumer is deceased (“reports on the deceased”) as they would for any other

report.

      50.    Defendant Equifax profits from the sale of reports on deceased

consumers.

      51.    Defendant Equifax has in their credit reporting database many

“deceased” tradelines corresponding to distinct credit files for individual consumers

that they have marked as “deceased.”




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       52.    Defendant Equifax know that truly deceased consumers do not apply

for credit.

       53.    Defendant Equifax knows that the credit information and reports of

truly deceased persons are used by criminals to commit identity theft or credit fraud.

Indeed, identity theft using the personal identifying information of deceased

consumers is known to Defendant Equifax to be a common and major source of

identity theft.

       54.    Defendant Equifax knows that identity theft and credit fraud are serious

and widespread problems in our society.

       55.    Defendant Equifax warns the relatives of truly deceased consumers that

identity theft can be committed using the credit reports and information of the

deceased, and require relatives to provide a death certificate or executorship papers,

among other forms of proof, before accessing the deceased consumer’s credit

information or report.

       56.    Defendant Equifax has no similar death certificate, executorship paper,

or any other proof requirements for their data sources, which report a consumer as

deceased or for the purchasers of their reports who access the purportedly deceased

consumer’s information.




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      57.    Defendant Equifax sells reports on supposedly deceased consumers to

third parties in an automated fashion and without any specific or general certification

that could reasonably explain a “permissible purpose” for purchasing or using a

(supposedly) deceased consumer’s credit history and/or report.

      58.    For consumers who are deceased, there rarely, if ever, exists a

permissible purpose under the FCRA for Defendant Equifax to sell their credit

reports, absent a court order.

      59.    Defendant Equifax knows that such reports contain a vast amount of

personal identifying and credit account information on the supposedly deceased

consumer, information that can be used to commit identity theft or for other

fraudulent purposes.


Capital One Bank Denies Plaintiff Credit Due to Inaccurate Credit Reporting
                             on July 26, 2021

      60.    On or about July 26, 2021, Plaintiff sought to obtain a credit card and

submitted a credit application.

      61.    Shortly thereafter, on or about July 26, 2021, Capital One Bank denied

Plaintiff’s credit application based upon the contents of Plaintiff’s credit report.

      62.    Plaintiff takes great pride in his good name and established credit rating

and works hard to ensure that the bills are paid in full and on time each month.

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Plaintiff believes and understands that his credit record with creditors is good, so he

could not imagine how the application had been denied.


                 Plaintiff’s Dispute with Equifax in August 2021

      63.    On or about August 23, 2021, extremely shocked, surprised, and

embarrassed at Defendant’s inaccurate reporting, Plaintiff mailed a written dispute

to Equifax, via certified mail, disputing the deceased notation that the credit bureau

was reporting in Plaintiff’s credit report. Plaintiff requested that they reinvestigate

the disputed information, correct the reporting, and send a corrected copy of the

credit report.


    The Credit Bureaus’ Method for Considering Consumer Credit Report
                                 Disputes

      64.    The credit industry has constructed a method of numeric-alpha codes

for considering consumer credit report disputes. See 15 U.S.C. § 1681i(a)(5)(D).

      65.    The credit bureaus, Equifax, Experian, Trans Union, and Innovis, have

thus created the Online Solution for Complete and Accurate Reporting, or e-

OSCAR, as the credit industries’ standard of performance. e-OSCAR allows the

credit bureaus to create and data furnishers to respond to disputes initiated by

consumers by routing credit reporting agency-created prompts for automated


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consumer dispute verifications to the appropriate data furnishers. e-OSCAR utilizes

a numeric-alpha language specific to the credit reporting industry.

      66.    That lexicon or unique language is commonly referred to in the credit

reporting industry as “Metro II.” It is also known industry wide as the CDIA’s

“Credit Reporting Resource Guide.”

      67.    Metro II is driven by numeric codes that translate into specific alpha

representations about consumers’ creditworthiness and character that will ultimately

appear on credit reports issued to third parties who make credit, insurance, rental,

and employment decisions regarding consumers.

      68.    Metro II codes are used on an industry wide form known within the

credit industry as an Automated Consumer Dispute Verification (“ACDV”)

electronic form.

      69.    The ACDVs have many fields in their body for use in effecting

thorough and complete communications between data furnishers and the credit

reporting agencies.

      70.    These ACDV “fields” have various titles for the many substantive areas

into which the Metro II codes can be entered.




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      71.    Upon receiving a dispute from a consumer, the credit bureaus have an

automated system that prepares ACDVs that are sent to each of the data furnishers

that are reporting the credit accounts disputed by a consumer.

      72.    The data furnishers then have an obligation under the FCRA to conduct

a reasonable reinvestigation with respect to the disputed credit account and review

all relevant information provided by the consumer with the dispute to determine

whether the disputed credit account information is accurate and/or belongs to the

disputing consumer. See 15 U.S.C. § 1681s-2(b).

      73.     Once the data furnisher completes its reinvestigation, it will code the

ACDV accordingly, representing either that the disputed account was verified as

accurate and belonging to the disputing consumer, updating information related to

the account, or deleting the account entirely, and return the ACDV to the respective

credit bureau(s) via eOSCAR.


             Equifax’s Response to Plaintiff’s August 2021 Dispute

      74.    Defendant Equifax did not respond to Plaintiff’s dispute.

      75.    Defendant Equifax did not indicate that Plaintiff’s dispute was found to

be frivolous or irrelevant.




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       76.    Defendant Equifax failed to conduct a reasonable reinvestigation of

Plaintiff’s dispute, or any reinvestigation whatsoever, to determine whether the

disputed information is inaccurate and record the current status of the disputed

information, in violation of 15 U.S.C. § 1681i(a)(1)(A).

       77.    Defendant Equifax failed to provide the requested credit disclosure in

violation of 15 U.S.C. § 1681g.


                Plaintiff’s Dispute with Equifax in September 2021

       78.    On or about September 9, 2021, extremely shocked, surprised, and

embarrassed at Defendant’s inaccurate reporting, Plaintiff mailed a written dispute

to Equifax, via certified mail, disputing the deceased notation that the credit bureau

was reporting in Plaintiff’s credit report. Plaintiff requested they reinvestigate the

disputed information, correct the reporting, and send a corrected copy of the credit

report.


             Equifax’s Response to Plaintiff’s September 2021 Dispute

       79.    Defendant Equifax refused to remove the deceased notation from

Plaintiff’s credit file.

       80.    The credit report enclosed with the dispute results included the

deceased notation:

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      Account Name: Navient Solutions, LLC
      Account Number: 502935047080*
      Account Status: Consumer Deceased


      81.    Defendant Equifax failed to conduct a reasonable reinvestigation of

Plaintiff’s dispute, or any reinvestigation whatsoever, to determine whether the

disputed information is inaccurate and record the current status of the disputed

information, in violation of 15 U.S.C. § 1681i(a)(1)(A).


                Plaintiff’s Dispute with Equifax in October 2021

      82.    On or about October 12, 2021, extremely shocked, surprised, and

embarrassed at Defendant’s inaccurate reporting, Plaintiff mailed a written dispute

to Equifax, via certified mail, disputing the deceased notation that the credit bureau

was reporting in Plaintiff’s credit report. Plaintiff requested they reinvestigate the

disputed information, correct the reporting, and send a corrected copy of the credit

report.


             Equifax’s Response to Plaintiff’s October 2021 Dispute

      83.    Defendant Equifax did not respond to Plaintiff’s dispute.

      84.    Defendant Equifax did not indicate that Plaintiff’s dispute was found to

be frivolous or irrelevant.


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      85.     Defendant Equifax failed to conduct a reasonable reinvestigation of

Plaintiff’s dispute, or any reinvestigation whatsoever, to determine whether the

disputed information is inaccurate and record the current status of the disputed

information, in violation of 15 U.S.C. § 1681i(a)(1)(A).

      86.     Defendant Equifax failed to provide the requested credit disclosure in

violation of 15 U.S.C. § 1681g.


            Plaintiff Sees Equifax Reporting Deceased in October 2021

      87.     In or about October 27, 2021, Plaintiff sees that Equifax is reporting a

deceased notation in Plaintiff’s credit report.

     Account Name: Navient Solutions, LLC
     Account Number: 502935047080x
     Account Status: Consumer Deceased


                Plaintiff’s Dispute with Equifax in November 2021

      88.     On or about November 19, 2021, extremely shocked, surprised, and

embarrassed at Defendant’s inaccurate reporting, Plaintiff mailed a written dispute

to Equifax, via certified mail, disputing the deceased notation that the credit bureau

was reporting in Plaintiff’s credit report. Plaintiff requested they reinvestigate the

disputed information, correct the reporting, and send a corrected copy of the credit

report.

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                Equifax’s Response to Plaintiff’s November 2021 Dispute

          89.    Defendant Equifax updated the reporting to undesignated.

          90.    As a result of the “deceased” annotation contained within Plaintiff’s

credit report, Defendant Equifax made it practically impossible for Plaintiff to obtain

credit.

          91.    As a standard practice, Defendant Equifax does not conduct

independent investigations in response to consumer disputes. Instead, they merely

parrot the response of the furnisher despite numerous court decisions admonishing

this practice. See Cushman v. Trans Union Corp., 115 F.3d 220, 225 (3d Cir. 1997)

(“The ‘grave responsibilit[y]’ imposed by § 1681i(a) must consist of something

more than merely parroting information received from other sources. Therefore, a

‘reinvestigation’ that merely shifts the burden back to the consumer and the credit

grantor cannot fulfill the obligations contemplated by the statute.”); Apodaca v.

Discover Fin. Servs., 417 F. Supp. 2d 1220, 1230–31 (D.N.M. 2006) (noting that

credit reporting agencies may not rely on automated procedures that make only

superficial inquiries once the consumer has notified it that information is disputed);

Gorman v. Experian Info. Sols., Inc., 2008 WL 4934047, at *6 (S.D.N.Y. Nov. 19,

2008).



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      92.     Consistent with their standard policies and procedures, Defendant

Equifax     automatically   generated   their   “investigation”   results   once     the

aforementioned furnishers provided their responses to Plaintiff’s disputes, verifying

that Plaintiff was deceased, and no employee from any of the credit bureaus took

any additional steps to review Plaintiff’s documentation, information, or the Social

Security Administration’s (“SSA”) Death Master File, which Defendant purchases

from the SSA, after the furnishers provided their responses to Plaintiff’s disputes.

      93.     Instead, Defendant Equifax blindly accepted the aforementioned

furnishers’ incomplete version of the facts and continued to report the inaccurate,

derogatory information on Plaintiff’s credit reports, namely, that he is deceased.

      94.     Defendant Equifax continues the practice of parroting the response

from furnishers even though they have been repeatedly sued for failing to conduct

reasonable investigations as required by the FCRA.

      95.     Defendant Equifax do not intend to modify their dispute-processing

procedures because doing so would drastically increase their operating expenses.

      96.     Instead, Defendant Equifax intentionally choose not to comply with the

FCRA to lower their costs. Accordingly, Defendant Equifax’s violations of the

FCRA are willful.




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      97.    At all times pertinent hereto, Defendant Equifax was acting by and

through their agents, servants, and/or employees who were acting within the course

and scope of their agency or employment, and under the direct supervision and

control of the Defendant herein.

      98.    At all times pertinent hereto, the conduct of Defendant Equifax, as well

as that of their agents, servants, and/or employees, was intentional, willful, reckless,

and in grossly negligent disregard for federal law and the rights of Plaintiff herein.


                              CLAIMS FOR RELIEF

                                 COUNT I
                            15 U.S.C. § 1681e(b)
    Failure to Follow Reasonable Procedures to Assure Maximum Possible
                                  Accuracy

      99.    Plaintiff re-alleges and incorporates the allegations set forth in

Paragraphs 1-98 as if fully stated herein.

      100. The FCRA mandates that “[w]henever a consumer reporting agency

prepares a consumer report it shall follow reasonable procedures to assure maximum

possible accuracy of the information concerning the individual about whom the

report relates.” 15 U.S.C. § 1681e(b).

      101. On multiple occasions, Defendant Equifax prepared patently false

consumer reports concerning Plaintiff.

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      102. Despite actual and implied knowledge that Plaintiff is not dead,

Defendant Equifax readily sold such false reports to one or more third parties,

thereby misrepresenting Plaintiff, and ultimately, Plaintiff’s creditworthiness.

      103. Defendant Equifax violated 15 U.S.C. § 1681e(b) by failing to establish

or to follow reasonable procedures to assure maximum possible accuracy in the

preparation of the credit reports and credit files they published and maintain

concerning Plaintiff.

      104. As a result of Defendant Equifax’s conduct, action, and inaction,

Plaintiff suffered damage by loss of credit; loss of the ability to purchase and benefit

from his/her1 credit; being chilled from seeking credit opportunities; the expenditure

of time and money disputing and trying to correct the blatantly inaccurate credit

reporting; and emotional distress including the mental and emotional pain, anguish,

humiliation, and embarrassment of credit denials, fear of financial difficulty, and the

inability to obtain credit for important life purchases.

      105. Defendant Equifax’s conduct, action, and inaction was willful,

rendering them liable for actual or statutory damages, and punitive damages in an

amount to be determined by the Court pursuant to 15 U.S.C. § 1681n. In the

alternative, it was negligent, entitling Plaintiff to recover under 15 U.S.C. § 1681o.




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      106. Plaintiff is entitled to recover attorneys’ fees and costs from Defendant

Equifax in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681n

and/or § 1681o.

                                    COUNT II
                                 15 U.S.C. § 1681i
               Failure to Perform a Reasonable Reinvestigation
             (Second Claim for Relief Against Defendant Equifax)


      107. Plaintiff re-alleges and incorporates the allegations set forth in

Paragraphs 1-98 as if fully stated herein.

      108. The FCRA mandates that Defendant Equifax conduct an investigation

of the accuracy of information “[i]f the completeness or accuracy of any item of

information contained in a consumer’s file” is disputed by the consumer. See 15

U.S.C. § 1681i(a)(1). The Act impose a 30-day time limitation for the completion of

such an investigation. Id.

      109. The FCRA provides that if Defendant Equifax conduct an investigation

of disputed information and confirm that the information is in fact inaccurate, or are

unable to verify the accuracy of the disputed information, they are required to delete

that item of information from the consumer’s file. See 15 U.S.C. § 1681i(a)(5)(A).

      110. On multiple occasions during 2020 and 2021, Plaintiff sent written

disputes to Defendant Equifax, pleading with them to comply with their statutory

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reinvestigation obligations and correct and/or delete specific items in his/her1 credit

files that are patently inaccurate, misleading, and highly damaging to him and his

ability to obtain credit, namely, references to him being “deceased.”

      111. Either Defendant Equifax conducted no investigation of Plaintiff’s

disputes, or such investigations were so shoddy as to allow patently false and highly

damaging information to remain in Plaintiff’s credit files, namely, the deceased

notations.

      112. Defendant Equifax violated 15 U.S.C. § 1681i on multiple occasions

by failing to conduct a reasonable reinvestigation to determine whether the disputed

information was inaccurate and record the current status of the disputed information,

or delete the disputed information, before the end of the 30-day period beginning on

the date on which they received the notices of dispute from Plaintiff; and by failing

to maintain reasonable procedures with which to filter and verify disputed

information in Plaintiff’s credit files.

      113. As a result of Defendant Equifax’s conduct, action, and inaction,

Plaintiff suffered damage by loss of credit; loss of the ability to purchase and benefit

from his credit; being chilled from seeking credit opportunities; the expenditure of

time and money disputing and trying to correct the blatantly inaccurate credit

reporting; and emotional distress including the mental and emotional pain, anguish,

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humiliation, and embarrassment of credit denials, fear of financial difficulty, and the

inability to obtain credit for important life purchases.

      114. Defendant Equifax’s conduct, action, and inaction was willful,

rendering them liable for actual or statutory damages, and punitive damages in an

amount to be determined by the Court pursuant to 15 U.S.C. § 1681n. In the

alternative, it was negligent, entitling Plaintiff to recover under 15 U.S.C. § 1681o.

      115. Plaintiff is entitled to recover attorneys’ fees and costs from Defendant

Equifax in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681n

and/or § 1681o.

                                        COUNT III
                                  15 U.S.C. § 1681g
                    Failure to Provide Disclosures to Plaintiff

      116. Plaintiff re-alleges and incorporates the allegations set forth in

Paragraphs 1-98 as if fully stated herein.

      117. Defendant violated 15 U.S.C. § 1681g by failing to provide Plaintiff’s

credit disclosure after each request.

      118. As a result of Defendant’s conduct, action, and inaction, Plaintiff

suffered damage by loss of credit; loss of the ability to purchase and benefit from

Plaintiff’s credit; detriment to Plaintiff’s credit rating; the expenditure of time and


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money disputing and trying to correct the inaccurate credit reporting; and emotional

distress including the mental and emotional pain, anguish, humiliation, and

embarrassment.

      119. Defendant’s conduct, action, and inaction was willful, rendering them

each separately liable for actual or statutory damages, and punitive damages in an

amount to be determined by the Court pursuant to 15 U.S.C. § 1681n. In the

alternative, it was negligent, entitling Plaintiff to recover under 15 U.S.C. § 1681o.

      120. Plaintiff is entitled to recover attorney's fees and costs from Defendant

in an amount to be determined by the Court pursuant to 15 U.S.C. § 1681n and/or

§ 1681o.



                                 PRAYER FOR RELIEF

      WHEREFORE, Plaintiff prays for relief as follows:

      a)     Determining that Defendant negligently and/or willfully violated the

             FCRA;

      b)     Awarding Plaintiff actual damages, statutory, and punitive damages as

             provided by the FCRA;

      c)     Awarding Plaintiff reasonable attorneys’ fees and costs as provided by

             the FCRA; and

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     d)    Granting further relief, in law or equity, as this Court may deem

           appropriate and just.

                               DEMAND FOR JURY TRIAL

     121. Plaintiff demands a trial by jury.



Dated:     July 25, 2023

                                            /s/ Joseph P. McClelland
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